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NOVEMBER 30, 2023
ENDING DATE EXHIBIT A

Q-3 All bills get paid at the end of
the month. So, if a bill is due before
the end of the month the bill will be
considered late.
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NOVEMBER 30, 2023
ENDING DATE EXHIBIT B
Q14- There was a run off election for
vice Local Chairman seat number 4,
and a election for the Local seats.
We also had contract negotiations.
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ENDING DATE EXHIBIT C
INTEREST FROM BANK                                              $.20
SMART                                                           $10,656.69
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ENDING DATE EXHIBIT D
BILLS AND NOVEMBER WAGES WERE PAID ON
NOVEMBER 28, 2023.
COMCAST                                             $331.15
PECO                                                $121.75
AT&T                                                $475.14
RENT                                                $1500.00
DWAYNE BENSON                                       $2492.17
JENEEN HAND                                         $3303.57
BRUCE CHEATHAM                                      $2751.31
ANTHONY PETTY                                       $3064.61
WAYNE MORRIS                                        $789.83
MICHELLE HAYWARD-SNIPES $1303.08
941 TAX                                             $3768.13
BANK SERVICE FEE                                    $5.00
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